                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled at 3:00 p.m. on May 18, 2010, to consider Plaintiff's appeal. On May 6, 2010, the court sent notice of the scheduled case management conference to Plaintiff at 12791 SW Creekshire Drive, Tigard, OR 97223, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable.
On May 18, 2010, Plaintiff failed to appear for the scheduled hearing. On May 18, 2010, the court sent Plaintiff a letter that explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by June 1, 2010, for his failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not contacted the court. *Page 2 
Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of June 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Dan Robinsonon June 10, 2010. The court filed and entered this documenton June 10, 2010.